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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER M. WARMAN, et al.,                     )
                                                   )
                       Plaintiffs,                 )   Civil Action 19-1224
                                                   )
                vs.                                )   Magistrate Judge Patricia L. Dodge
                                                   )
LOCAL YOKELS FUDGE, LLC, et al.,                   )
                                                   )
                       Defendants.


                                     MEMORANDUM OPINION

       Plaintiffs Christopher M. Warman (“Warman”), the Trust for Family of Christopher

Warman (the “Trust”) and Chocolate Moonshine, LLC (“Moonshine LLC”) brought this action

against Defendants Local Yokels Fudge, LLC (“Local Yokels”), Christine Falvo (“Falvo”),

Charles Brian Griffin (“Griffin”), Donald Konieczny (“Konieczny”) and CM Chocolatier, LLC

(“Chocolatier”). The Amended Complaint asserted various federal and state law claims arising out

of Defendants’ alleged use of Plaintiffs’ recipe for making fudge, which they claimed to be a trade

secret. The case was tried before a jury and the jury rendered a verdict, as described below.

       Pending before the Court is Defendants’ Motion for Counsel Fees Pursuant to Fed. R. Civ.

P. 54 (ECF No. 425). For the reasons that follow, their motion will be granted.

  I.   Relevant Procedural History

       Plaintiffs commenced this action in September 2019 and subsequently filed an Amended

Complaint on August 27, 2020 (ECF No. 51). The Amended Complaint includes thirteen counts,

including: trade secret misappropriation in violation of the Defend Trade Secrets Act, 18 U.S.C.

§§ 1831-39 (“DTSA”) (Count I), and the Pennsylvania Uniform Trade Secrets Act, 12 Pa. C.S.

§§ 5301-08 (“PUTSA”) (Count II); contributory trademark infringement in violation of the
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Lanham Act, 15 U.S.C. § 1125 (Count III); trademark infringement (Count V); unjust enrichment

(Count IX); contributory copyright infringement by Falvo, Local Yokels and Konieczny (Count

XII); and copyright infringement by all Defendants (Count XIII), with the last two claims based

on violations of the Copyright Act, 17 U.S.C. § 501.

       When this action was commenced, Plaintiffs were represented by John Thomas and

Anthony Brooks of The Webb Law Firm, both of whom are intellectual property (IP) attorneys.

After Plaintiffs’ counsel and The Webb Law Firm withdrew in October 2021, Plaintiffs retained

Attorney Michael Betts, who entered his appearance on December 20, 2021 (ECF No. 103). 1 Gwen

Acker Wood, who is also an IP attorney, entered her appearance on behalf of Plaintiffs on July 21,

2022. (ECF No. 129.)

       On December 27, 2022, an opinion and order were issued that granted Defendants’ motion

for summary judgment as to Counts III, V, XII and XIII (the trademark and copyright infringement

claims) and denying it in all other respects (ECF Nos. 159, 160).

       On November 27, 2023, a jury trial commenced on Plaintiffs’ trade secret misappropriation

and unjust enrichment claims. At the conclusion of the trial, the jury reached a verdict in favor of

Plaintiffs, finding that the recipe was a trade secret owned by the Trust, that Defendants Falvo,

Konieczny and Local Yokels were liable for trade secret misappropriation under federal and state

law and that Defendant Chocolatier was liable for unjust enrichment. The jury awarded damages

with respect to these claims (ECF No. 288).

       On December 9, 2024, Defendants filed the motion currently under consideration (ECF

No. 425), which has been fully briefed (ECF No. 454).




1
 Mr. Betts’ motion to withdraw as counsel for Plaintiffs was granted on May 17, 2024. (ECF No.
354.)
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    II.   Analysis

             A. Standard of Review

          Rule 54 provides that a motion for attorney’s fees must:

                  (i) be filed no later than 14 days after the entry of judgment;
                  (ii) specify the judgment and the statute, rule, or other grounds entitling the
          movant to the award;
                  (iii) state the amount sought or provide a fair estimate of it; and
                  (iv) disclose, if the court so orders, the terms of any agreement about fees
          for the services for which the claim is made.

Fed. R. Civ. P. 54(d)(2)(B). 2 Defendants seek attorney’s fees under both the Lanham Act and the

Copyright Act. See 15 U.S.C. § 1117(a) (in an action for trademark infringement, “The court in

exceptional cases may award reasonable attorney fees to the prevailing party.”); 17 U.S.C. § 505(a)

(in a copyright infringement action, “the court may also award a reasonable attorney’s fee to the

prevailing party as part of the costs.”)

          It is undisputed that Defendants were the prevailing parties on the Lanham Act and

Copyright Act claims as summary judgment was granted in their favor. See Securacomm

Consulting, Inc. v. Securacom Inc., 224 F.3d 273, 280 (3d Cir. 2000) (highlighting that “the

language of § 35(a) authorizing attorney’s fees to the prevailing party in the discretion of the court

[applies to] defendants as well as plaintiffs.”).

             B. Lanham Act

          The Court of Appeals has held that “a district court may find a case ‘exceptional,’ and

therefore award fees to the prevailing party, when (a) there is an unusual discrepancy in the merits

of the positions taken by the parties or (b) the losing party has litigated the case in an ‘unreasonable




2
 Following the trial, the parties engaged in various motions practice and settlement discussions.
As a result, judgment on the jury’s verdict was not entered until December 2, 2024 (ECF No. 423).
Defendants’ Rule 54 motion was timely filed within 14 days of the entry of judgment.
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manner.’” Fair Wind Sailing, Inc. v. Dempster, 764 F.3d 303, 315 (3d Cir. 2014) (citing Octane

Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 554 (2014)). 3 Courts may consider a

list of factors that include “frivolousness, motivation, objective unreasonableness (both in the

factual and legal components of the case) and the need in particular circumstances to advance

considerations of compensation and deterrence.” Octane Fitness, 572 U.S. at 554 n.6 (quoting

Fogerty v. Fantasy, 510 U.S. 517, 534 n. 19 (1994)).

        Defendants moved for summary judgment with respect to the trademark infringement

claims in Counts III and V based upon their assertion that the trademark “Chocolate Moonshine

Co.” was procured by fraud. The factual basis for their argument related to the trademark

application submitted by Christopher Warman, Jr. (“Warman Jr.”), the son of Plaintiff Warman.

When he applied for a trademark with the United States Patent and Trademark Office (“PTO”) on

July 23, 2014, Warman Jr. misrepresented that he owned the mark when it was actually owned by

his father. 4

        In resolving this issue, the Court stated in its opinion that:

        Here, the uncontroverted facts show that the misrepresentations were material.
        Since the PTO requires the owner of a trademark to seek registration, it would not
        have issued a trademark to Warman Jr. if he had revealed that he did not own the
        mark and was falsely seeking registration for a trademark owned by his father.
        Further, there is no basis to conclude that Warman Jr.’s misrepresentations to the
        PTO were the result of a misunderstanding, negligence or a mere omission as
        Plaintiffs attempt to suggest. It is uncontroverted that Warman Jr. applied for the
        trademark despite the fact that he knew the mark was owned by his father. Indeed,
        according to the evidence of record, Warman Jr., who was not the owner of
        “Chocolate Moonshine Co.,” applied for a trademark in order to be a “placeholder”
        for his father. This was done with his father’s knowledge because of [Defendant]


3
  Defendants contend that a party must show “culpable conduct” on the part of the losing party,
citing Ferrero U.S.A., Inc. v. Ozak Trading, Inc., 952 F.2d 44, 47 (3d Cir. 1991). However, that
case was abrogated by the Third Circuit in Fair Wind Sailing, based on the Supreme Court’s
holding in Octane Fitness allowing for a broader definition of “exceptional.”
4
  Because PTO records indicated that the trademark has been cancelled through abandonment,
Defendants did not independently seek to have the trademark canceled.
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       Falvo’s prior conduct and concerns related to what actions she might take. While
       Plaintiffs contend that, taken alone, this does not demonstrate an intent to defraud
       the PTO, they have not submitted any evidence that contradicts Warman Jr.’s
       knowingly false sworn statement to the PTO that he owned the trademark when he
       admits that he did not. Nor have they created a genuine issue of material fact to
       suggest that Warman Jr. did not intend to defraud the PTO. Thus, the record
       evidence demonstrates that this deception was willful and reflects an intent to
       deceive the PTO into issuing the trademark in the name of Warman Jr.

(ECF No. 159 at 23-24.)

       In resisting the award of attorneys’ fees, Plaintiffs argue that this case is not “exceptional”

because no fraud was committed. Rather, they claim that their actions resulted from a series of

honest mistakes and a lack of knowledge. According to Plaintiffs, this includes the fact that

Warman Jr., who prosecuted the trademark application without the assistance of an attorney, did

not know that he could not apply for a trademark in Chocolate Moonshine Co. because his father

was the actual owner of the mark; Warman thought that his son could file for the trademark

application and did not know that the registration was void ab initio; and Warman thought that as

the trustee of the Trust, he had enforcement rights in the trademark once it was obtained and

therefore had a good-faith basis for bringing trademark infringement claims against the

Defendants, who were using the trademark without a license.

       As it relates to their claims of honest mistakes and lack of knowledge, Plaintiffs have

submitted the declarations of Warman and Warman Jr. Among other things, both claim that they

“did not know” that only the owner of a trademark can apply for a registration. Plaintiffs’ attempt

to relitigate this issue is unavailing, however. In fact, Plaintiffs’ current position directly

contradicts the argument they made in response to the motion for summary judgment, namely, that

Warman and Warman Jr. were fully aware of what they were doing and took this action to prevent

Falvo from taking the trademark.




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        Plaintiffs’ efforts to supplement or change the record as it existed when this issue was

resolved is unavailing. The parties had a full opportunity to create a record on this issue. 5 The

Court specifically found that Plaintiffs’ deception was willful and reflected an intent to deceive

the PTO into issuing the trademark in the name of Warman Jr. This finding cannot be relitigated

by opposing a motion for attorney’s fees after final judgment has been entered. See Davis v.

Stratton, 2009 WL 1292829, at *1 n.2 (N.D.N.Y. May 7, 2009) (the court noted that in its response

to a motion for attorney’s fees, “the City is attempting to relitigate whether judgment should have

been entered against the City. The appropriate forum for this argument is on appeal.”)

       Plaintiffs also contend that they did not litigate this case in an unreasonable manner because

there were no real discovery disputes. See Engage Healthcare Commc’ns, LLC v. Intellisphere,

LLC, 2019 WL 1397387, at *4 (D.N.J. Mar. 28, 2019) (“examining the ‘totality of the

‘circumstances’ surrounding this unique case—a protracted, contentious family dispute—suggests

that the gap in the parties’ litigating positions was not nearly as great as Defendants contend.”)

However, as previously discussed, the Court rejects Plaintiffs’ assertion that discovery “revealed

an honest mistake of complex trademark law—not unreasonable or baseless prosecution of

litigation.” (ECF No. 454 at 4.) 6

       According to Plaintiffs, they “initially thought to bring a claim for common law trademark

infringement, but ultimately did not pursue infringement of their common law rights in the

CHOCOLATE MOONSHINE CO. trademark. Plaintiffs mistakenly selected the wrong

mechanism to enforce their trademark rights but attempting to enforce their rights in the

CHOCOLATE MOONSHINE CO. trademark was not an unreasonable litigation position.” (Id. at


5
 Warman submitted a declaration in support of Plaintiffs’ opposition to Defendants’ motion for
summary judgment (ECF No. 136 Ex. 1), but it did not address the issue of fraud on the PTO.


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4-5.) While both the Complaint and Amended Complaint were filed on Plaintiffs’ behalf by the

Webb Law Firm, counsel experienced in trademark law, Plaintiffs’ inexplicably blame the

selection of claims on Attorney Michael Betts, who did not enter his appearance for Plaintiffs until

December 2021, on the ground that he is “not a trademark attorney” (id. at 5 n.4). 7 Mr. Betts did

not prepare the Complaint or Amended Complaint, however. Whether The Webb Law Firm was

aware of the circumstances of the PTO application is not known, but Warman and Warman Jr.

certainly were. Thus, the trademark claims asserted in Counts III and V were unreasonable.

          That leaves Warman’s claim that because he did not learn until after Defendants’ summary

judgment was granted that Mr. Betts is not a trademark attorney, he was not made aware that the

trademark was void ab initio. In his declaration, Warman states that:

          I originally hired an intellectual property attorney, John Thomas, to protect me. He
          filed the complaint in Federal Court in 2019. He left in or about 2021 to become
          counsel at a publicly traded corporation. The Defendants were using my Chocolate
          Moonshine brand selling counterfeit fudge all over the country. I then hired attorney
          Michael Betts. I did not learn until after summary judgment that attorney Michael
          Betts was not a trademark attorney. He informed me of this after summary
          judgment stating this is out of my wheelhouse and we should have had a trademark
          attorney helping us, he said you need to hire one right away. I then was able to hire
          intellectual property trademark attorney Gwen Acker Wood to provide assistance
          in the trademark and copyright areas.

(Warman Decl. ¶ 4) (ECF No. 454 Ex. 2).

          As noted above, this lawsuit was commenced by John Thomas and Anthony Brooks of The

Webb Law Firm, both of whom are IP attorneys. They signed the Complaint and Amended

Complaint, both of which asserted claims of trademark infringement. After they withdrew in

October 2021, Mr. Betts entered his appearance for Plaintiffs on December 20, 2021. Ms. Acker

Wood, an experienced IP attorney, entered her appearance on July 21, 2022.




7
    This issue is discussed more fully below.
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       As confirmed by the docket in this case, Warman’s assertion that Ms. Acker Wood was not

retained until after Defendants’ motion for summary judgment was decided is simply wrong.

Warman’s sworn statement that Mr. Betts told him after summary judgment that they “should have

had a trademark attorney helping us” is also belied by the record. Plaintiffs’ brief in opposition to

the summary judgment motion was signed by both Mr. Betts and Ms. Wood. The brief includes an

extensive discussion of why Plaintiffs did not believe they had committed fraud on the PTO (ECF

No. 132 at 11-14). 8 Warman’s statement that he did not learn until after summary judgment that

Mr. Betts was not a “trademark attorney,” although questionable, is not completely foreclosed by

the record, but ultimately, it does not matter in this case because Ms. Acker Wood was also

representing Plaintiffs at the time.

       Thus, Plaintiffs were represented by IP counsel when they filed the trademark infringement

claims at issue; Plaintiffs were represented by IP counsel when they responded to a motion for

summary judgment challenging these claims; and Plaintiffs’ response to the motion for summary

judgment fully addressed the contention that the trademark was obtained by fraud on the PTO. 9

Simply put, Plaintiffs’ attempt to blame Mr. Betts for the assertion of the trademark claims or the

manner in which they were defended is unavailing.




8
  Plaintiffs argued that there is a distinction between “a ‘false’ representation and a ‘fraudulent’
one, the latter involving an intent to deceive, whereas the former may be occasioned by a
misunderstanding, an inadvertence, a mere negligent omission, or the like.” (ECF No. 132 at 12
(quoting In re Bose Corp., 580 F.3d 1240, 1243 (Fed. Cir. 2009)). But their explanation that
Warman Jr. applied for the trademark because “he and Mr. Warman were trying to protect the
trademark from being taken by Falvo in connection with Falvo’s and Christopher Warman, Sr.’s
divorce proceeding.” (ECF No. 133 at 14) addressed the issue of motive (why Warman Jr.
submitted a false statement to the PTO), not intent (whether he did so knowingly or by mistake).
9
  Moreover, Plaintiffs’ implication that only a “trademark attorney” is capable of responding to
the argument that a mark was obtained by fraud on the PTO is unpersuasive.
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       As established by the record, Plaintiffs submitted two claims of trademark infringement

when they knew or should have known that such claims could not be prosecuted because the mark

was obtained by fraud on the PTO. They continued to maintain this position even when confronted

with this fact in a motion for summary judgment. Now, when faced with a motion for attorneys’

fees based on their litigation conduct, they attempt to rewrite history and place the blame on

Attorney Betts, who successfully obtained a verdict in their favor on the trade secret

misappropriation claims at trial.

       The Court concludes that Defendants have demonstrated that because this case is

“exceptional,” the award of attorney’s fees to Defendants as the prevailing parties on the trademark

infringement claims is warranted.

           C. Copyright Act

       In Counts XII and XIII, Plaintiffs alleged that Defendants infringed on a copyright

allegedly held by Warman Jr. in twelve photographs taken by photographer Michael Fornataro

(“Fornataro”). Defendants moved for summary judgment on the ground that Plaintiffs had no

good-faith basis to assert these copyright infringement claims because the only reason that

Defendant Griffin, Warman Jr.’s business partner, thought that he had the right to use these photos

is because Warman and Warman Jr. allowed him to believe this was true.

       In its opinion, the Court stated that:

       Warman Jr. testified that the purpose of the photos was to sell fudge through
       Chocolate Moonshine Online, the LLC formed by Warman Jr. in December 2016,
       and was also to be used by Chocolatier at shows and other places. He testified he
       permitted Griffin to use the photos displayed on the Chocolate Moonshine website
       in order to sell fudge through Chocolatier and believed that he had the right to do
       so. He does not recall ever telling Griffin that the photos were taken for his father’s
       company or that Griffin was not permitted to use them. Griffin believed that the
       photos were owned by Online or Warman Jr.

(ECF No. 159 at 27.) Further, as indicated by the Court:

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       The August 2019 cease and desist letter relates to use of the Chocolate Moonshine
       mark and makes no reference to the photographs that Fornataro licensed to Warman
       Jr. Even assuming that Warman, as opposed to Warman Jr., had a right to the
       photos, Warman testified that he gave Warman Jr. permission to use the photos for
       the sale of fudge by Chocolatier for “the entire time until [Griffin] took over the
       business.” Further, if his son wanted to use the photos in a “Chocolate Moonshine
       shop,” he could do so. Warman Jr. continued to be associated with Chocolatier until
       December 31, 2019, when he sold his interest to Griffin. Thus, between May 2016
       through at least December 31, 2019, Warman Jr. had permission to use the photos.

       There is no evidence that Griffin was told by Warman or Warman Jr. at any time
       not to use the photos.

(Id. at 27-28) (footnote and record citations omitted). The Court then concluded that:

       The Amended Complaint alleges in Count XIII that Griffin and Chocolatier used
       the photos without authorization by copying them from Moonshine’s website, and
       further, that Falvo, Local Yokels and Konieczny copied the photos from the website
       and other places and provided them to Griffin and Chocolatier. The uncontroverted
       evidence fails to support this claim. In fact, Griffin and Chocolatier had
       authorization from Warman Jr., who supplied the photos for their use. There is no
       evidence in the record that it was Falvo, Local Yokels or Konieczny who provided
       them to Griffin or Chocolatier. Therefore, Griffin and Chocolatier are entitled to
       judgment in their favor on Count XIII.

(Id. at 28.) Similarly, the Court concluded that Plaintiffs had no evidence to support the

contributory copyright infringement claim in Count XII. (Id. at 29.)

       Unlike the Lanham Act, the Copyright Act does not require a prevailing party to

demonstrate that a case is “exceptional” in order to recover attorney’s fees. Rather, fees are a

matter for a court to decide in its discretion under the totality of the circumstances.

       The Supreme Court has recognized that a court may award attorney’s fees “to deter

repeated instances of copyright infringement or overaggressive assertions of copyright claims,

again even if the losing position was reasonable in a particular case.” Kirtsaeng v. John Wiley &

Sons, Inc., 579 U.S. 197, 209 (2016).

       Defendants argue that the copyright claims were asserted in bad faith based on Warman

Jr.’s misrepresentation to Griffin that he owned the copyright in the photographs and could donate

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them to sell fudge by the company that he and Griffin organized for that purpose. Griffin

reasonably believed that Warman Jr. owned the photographs because Warman and Warman Jr. led

him to believe this was true.

       In response, Plaintiffs note that, in March 2020, Fornataro entered into a Copyright

Assignment Agreement transferring the right to use the photos to the Trust, including the right to

sue for “past, present and/or future infringement of the copyright.” They contend that Warman Jr.

did not have the right to grant Griffin the ability to use the photos in the first instance because “a

non-exclusive license holder cannot assign the license unless expressly authorized to do so.” (ECF

No. 454 at 5) (quoting Ariel (UK) Ltd. v. Reuters Grp. PLC, 2006 WL 3161467, at *6 (S.D.N.Y.

Oct. 31, 2006)), aff’d, 277 F. App’x 43 (2d Cir. 2008). 10

       Remarkably, Plaintiffs argue that “[e]ven though [they] did not raise this argument at the

Summary Judgment stage [sic] does not affect whether the claim was frivolous.” (ECF No. 454 at

6.) However, their failure to raise this argument in response to the motion for summary judgment

precludes them from attempting to relitigate the issue of whether they could pursue copyright

infringement claims. The uncontroverted record submitted to this Court in the context of

Defendants’ motion for summary judgment established that Plaintiffs had no support for their

copyright infringement claims but pursued them anyway.

       Therefore, based on Defendants’ degree of success on the copyright infringement claims,

the objective unreasonableness of these claims and Warman’s apparent improper motivation in

bringing these claims, Defendants have demonstrated that an award of attorney’s fees in this case

is appropriate.



10
  While claiming that they merely made a series of “honest mistakes,” Plaintiffs try to place a
higher standard on Griffin, asserting that he “failed to conduct due diligence regarding whether he
had the right to use the photographs.” (ECF No. 454 at 5.)
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           D. Fees and Costs

       Attached to Defendants’ motion is a declaration of Attorney Stanley Stein. Among other

things, he includes a summary of his more than 53 years of litigation experience and practice, his

hourly rates and those of his colleagues, the nature of his legal services, information from the 2020

Real Rate Report, which is a survey of national hourly rates for intellectual property litigation and

attorneys with certain levels of litigation experience, and how the fees incurred by Defendants

were calculated related to the claims at issue. His declaration includes various exhibits, including

his resume, invoices reflecting costs incurred, the national survey, and a chart which sets forth all

services provided, the date of each service, the timekeeper and his hourly rate, the time spent on

each task and the amount incurred and sets forth costs. The chart separates, where applicable, work

performed on the trademark and copyright claims.

       Based upon the declaration and its exhibits, Defendants calculate their attorneys’ fees and

costs as follows:

       For the trademark infringement claims, $100,435.23 in legal fees and $2,671.93 in costs.

       For the copyright infringement claims $67,480.48 in legal fees and $3,532.00 in costs.

(ECF No. 425 Ex. 1.)

       Plaintiffs have not challenged or responded to Defendants’ fee and cost calculations, other

than to request that, if the Court awards attorneys’ fees on either the trademark infringement or

copyright infringement claims but not both, Defendants should be required to distinguish the fees

incurred for each kind of claim. (ECF No. 454 at 7.) In fact, as noted above, Defendants did

distinguish the fees incurred for each kind of claim. (ECF No. 425-2.) And as explained above, the

Court is granting Defendants’ motion for attorney’s fees on both the trademark infringement and

copyright infringement claims.



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        As Defendants note, a fee award should be based on hours spent performing work that is

the type usually necessary to secure the final result. Planned Parenthood of Cent. N.J. v. Attorney

Gen. of State of N.J., 297 F.3d 253, 266 (3d Cir. 2002). The lodestar approach is appropriately

used to examine the reasonableness of total billings in this matter. See Student Pub. Interest

Research Group of N.J., Inc. v. Windall, 51 F.3d 1179 (3d Cir. 1995). This is the product of the

hours reasonably expended and the hourly billing rate for the legal services rendered. Id.; see also

Hensley v. Eckerhart, 461 U.S. 424, 433–34 (1983). Assessing the reasonableness of a fee request

required an analysis of the information that is submitted to support the work performed, the hours

expended in that work and the hourly rate. Id.

        As required, the Court has reviewed Attorney Stein’s declaration and exhibits. It has

reviewed each billing entry, including the nature of the service performed, the time spent in doing

so, the professional who performed the work and the hourly rates for each such service. Based

upon this review, it concludes that the services and time spent on this case, as well as the costs

incurred, were reasonable and appropriate.

        Therefore, the fees and costs sought by Defendants will be awarded.

III.    Conclusion

        For the reasons set forth herein, Defendants’ Motion for Counsel Fees Pursuant to Fed. R.

Civ. P. 54 will be granted.

        An appropriate order will follow.


Dated: April 16, 2025                                BY THE COURT:

                                                     s/Patricia L. Dodge
                                                     PATRICIA L. DODGE
                                                     UNITED STATES MAGISTRATE JUDGE




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